                            Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 1 of 15



     tflL                                                    UNITED STATES DISTRICT COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                                                                                                                                      /8---cv---soig
                      (to be used by counsel or prose plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff:            ~\@.La          m,\ ~\\t\~                              lJC)N\) ~"\<J\'\ ?fT
 Address of Defendant:
                                ----------------------------------------1-+-~+-+---+-


Place of Accident, Incident or Transaction:                                                                                                                                   ,.....,,.-



RELATED CASE, IF ANY:

Case N u m b e r : - - - - - - - - - - - - - -                    Judge:------------·                                         Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 I.     Is this case related to property included in an earlier numbered suit pending or within one year                          YesD                  NoD
        previously terminated action in this court?

2.      Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        YesD                   NoD
        pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                            YesO                   NoD
       numbered case pending or within one year previously terminated action of this court?

4.      Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        YesD                   NoD
        case filed by the same individual?                 ~

I certify that, to my knowledge, the within case          D   is I      is not~ted to any case now pending or within one year previously terminated action in
this court except as noted above.                                       ./

DATE:               bJov Ci Lo f 020\9                                                                                                      Attorney I.D. # (if applicable)


CIVIL; (Place a      '1 in one category only)
A.             Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

D          Indemnity Contract, Marine Contract, and All Other Contracts                     D     i.    Insurance Contract and Other Contracts
D          FELA                                                                             D     2.    Airplane Personal Injury
D          Jones Act-Personal Injury                                                        D     3.    Assault, Defamation
           Antitrust                                                                        D     4.    Marine Personal Injury
           Patent                                                                           D     5.    Motor Vehicle Personal Injury
           Labor-Management Relations                                                       D     6.    Other Personal Injury (Please s p e c i f y ) : - - - - - - - - - -
           Civil Rights                                                                     D     1.    Products Liability
           Habeas Corpus                                                                    D s.        Products Liability- Asbestos
       9. Securities Act( s) Cases                                                          D 9.        All other Diversity Cases
B
D
       10. Social Security Review Cases
       11. All other Federal Question Cases
                                                                                                         (Please s p e c i f y ) : - - - - - - - - - - - - - - - - - -

               (Please s p e c i f y ) : - - - - - - - - - - - - - - - - - -



                                                                           ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration.)

I,         fu<M&--\e~~                               ({\counsel ofrecord or prose plaintiff; do hereby certify:



      ~
              Pursuant to Local Civil Rule 53 .2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of$150,000.00 exclusive of interest and costs:


      ~
              Relief other than monetary damages is sought.


DATE:         lJC)\I       JJo 1(XI)\8;)                              ~
                                                                  ~Attorney-at-Law I Pro Se Plaintiff                                      Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (512018)

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              Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 2 of 15
                                                                                                            ":.,,,::::::-~-:;-;:i.~:~;




(;~                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                             CASE MANAGEMENT TRACK DESIGNATION FORM
          p     6 (     i Q '0' 'fV                   :                          CIVIL ACTION

                                v.                    .                                         '

~~   l'( 0 9 4              \[{l-llfl'f   *t.Jt~a:c~                             NO   rs+cv~sogg
     In accordance with the Civil Justice Expense and Delay Reduction Plan of this co~rt, counsel for
     plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
     filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
     side of this form.) In the event that a defendant does not agree with the plaintiffiregarding said
     designation, that defendant shall, with its first appearance, submit to the clerk of COl1rt and serve on
     the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
     to which that defendant believes the case should be assigned.                           ·

     SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

     (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

     (b) Social Security - Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits.                                 ( )

     (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.     ( )

     (d) Asbestos - Cases involving claims for personal injury or property damage from      !

         exposure to asbestos.                                                              1           (        )




     (e) Special Management- Cases that do not fall into tracks (a) through (d) that are •
         commonly referred to as complex and that need special or intense management By     1


         the court. (See reverse side of this form for a detailed explanation of special
         management cases.)                                                                             ( )

     (f) Standard Management - Cases that do rwt fall into any one of the other tracks.                 (/(



     }J cN c~fo ,am td                                        ~,~-




                                                                            Attorney for
     Date                                                                                   I




     Telephone                            FAX Number                        E-Mail Addre$s


     (Civ. 660) 10/02                                                                 ....~~;-


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                                                                                                                         ....,,,,,4~J;---
               Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 3 of 15


  tt~tfJL
~     ~JED                          STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 Caption:
  EvaMade Poliquin,                                                       COMPLAINT
                                                                          FOR EMPLOYMENT
                                                                          DISCRIMINATION
 Full name(s) ofPlaintif.f(s)

 v.                                                                       CIVIL ACTION ~A q

 Lehigh Valley Health Network, Inc., d/b/a
                                                                          NO. I 8/CV./ ~ LJ 0           °Q



 Lehigh Valley Health Network and Lehigh
 Valley Hospital,
 Full name(s) ofDefendant(s)

 This action is brought for discrimination in employment pursuant to (check only those that apply):

           x        Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to
                    2000e-17 (race, color, gender, religion, national origin).
                    NOTE: In order to bring suit in federal district court under Title VII, you must.first
                    obtain a Notice ofRight to Sue Letter from the Equal Employment Opportunity
                    Commission.

                    Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§
                    621-634.
                    NOTE: Jn order to bring suit in federal district court under the Age Discrimination
                    in Employment Act, you must first file a charge with the Equal Employment
                    Opportunity Commission, and you must have been at least 40 years old at the time
                    you believe that you were discriminated against.

                    Americans with Disability Act of 1990, as codified, 42 U.S.C. §§ 12112-12117.
                    NOTE: Jn order to bring suit in federal district court under the Americans with
                    Disabilities Act, you must.first obtain a Notice ofRight to Sue Letter from the Equal
                    Employment Opportunity Commission.

           X        Pennsylvania Human Relations Act, as codified, 43 Pa. Cons. Stat.§§ 951-963
                    (race, color, family status, religious creed, ancestry, handicap or disability, age,
                    sex, national origin, the use of a guide or support animal because of blindness,
                    deafness or physical handicap of the user or because the user is a handler or trainer
                    of support or guide animals).


 (Rev. 10/2009)




                                                     -1-
            Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 4 of 15




               NOTE: Jn order to bring suit in federal district court under the Pennsylvania
               Human Relations Act, you must first file a complaint with the Pennsylvania Human
               Relations Commission or the Philadelphia Commission on Human Relations, and
               then you must wait one year prior to filing a lawsuit.


I.     Parties in this com plaint:

A.     List your name, address and telephone number. Do the same for any additional plaintiffs
       named. Attach additional sheets of paper as necessary.

Plaintiff      Name: EvaMarie Poliquin,
               Street Address: 4126 Beil Circle
                                                                           _ _ _ _ _ _ _ _ _ _ _ _ _ __
               County,City:N=orth~a=m=p~ro=n~C~o~u~n~ty~.~N~o~rth~a-m-p~ro-n


               State & Zip: Pennsylania 18067
               Telephone Number: 484-547-4770
                                           ~~~~~~~~~~~~~~~~~~~




B.     List all defendants' names and the address where each defendant may be served. Make
       sure that the defendant(s) listed below are identical to those contained in the caption on the
       first page. Attach additional sheets of paper as necessary.

Defendant      Name: Lehigh Valley Health Network, Inc., d/b/a Lehigh Valley Health Network and Lehigh Valley Hospital
               Street Address: 1200 South Cedar Crest Boulevard
               County, City: Leghigh County, Allentown
               State & Zip: Pennsylvania 18103
               Telephone Number:           ------------------~~~-~~




C.      The address at which I sought employment or was employed by the defendant(s) is:

                                  Employer: Lehigh Valley Hospital
                                     Street Address: 242 Pilbert St.
                                        County: Lehigh Valley
                                             City: Alburtis
                                      State & Zip: Pennsylvania
               Telephone Number: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
II.     Statement of the Claim

A.      The discriminatory conduct of which I complain in this action includes (check only those
        that apply to your case):

               Failure to hire me
        X      Termination of my employment
        X      Failure to promote me


                                                            -2-
             Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 5 of 15




                  Failure to reasonably accommodate my disability
        -*- Failure to reasonably accommodate my religion
                  Failure to stop harassment
                  Unequal terms and conditions of my employment
         X        Retaliation
                  Other (specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


NOTE: Only those grounds raised in the charge filed with the Equal Employment Opportunity
Commission can be considered by the federal district court.


B.      It is my best recollection that the alleged discriminatory acts occurred or began on or about:
        (month) December , (day)21                (year)_20_1_2_ _

C.      I believe that the defendant(s) (check one):

         X        is still committing these acts against me.
                  is not still committing these acts against me.

D.      Defendant(s) discriminated against me based on my (check only those that apply and state
        the basis for discrimination, for example, what is your religion, if religious discrimination
        is alleged):

                 race ________                                          color - - - - - - - -
         x       religion _ _ _ _ __                                    gender/sex _ _ _ _ __
                 national origin _ _ _ _ _ __
                  age      My date of birth is              (Give your date of birth only ifyou are
                           asserting a claim ofage discrimination)

E.      The facts of my case are as follow (attach additional sheets ofpaper as necessary):

I asked for a religious accommodation from the mandatory flu shot required by my employer, but was denied the
accommodation and was demoted to a much lower salary, and after I applied for my first religious accommodation and
filed my first discrimination charge with EEOC, the hospital retaliated against me by again denying another request for
accommodation and denying my more than      100 applications for other employment with the employer.




                                                         -3-
           Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 6 of 15




       NOTE: As additional support for the facts ofyour claim, you may attach to this complaint
       a copy ofyour charge filed with the Equal Employment Opportunity Commission, the
       Pennsylvania Human Relations Commission, or the Philadelphia Commission on Human
       Relations.

III.   Exhaustion of Administrative Remedies:

A.     It is my best recollection that I filed a charge with the Equal Employment Opportunity
       Commission or my Equal Employment Opportunity counselor regarding the defendant's
       alleged discriminatory conduct on:                                  (Date).

B.     The Equal Employment Opportunity Commission (check one):

              has not issued a Notice of Right to Sue Letter.
       X      issued a Notice of Right to Sue Letter, which I received on    August 27, 2018   (Date).

       NOTE: Attach to this complaint a copy of the Notice ofRight to Sue Letter from the Equal
       Employment Opportunity Commission.

C.     Only plaintiffs alleging age discrimination must answer this question.

       Since filing my charge of age discrimination with the Equal Employment Opportunity
       Commission regarding defendant's alleged discriminatory conduct (check one):

              60 days or more have passed.
              fewer than 60 days have passed.

D.     It is my best recollection that I filed a charge with the Pennsylvania Human Relations
       Commission or the Philadelphia Commission on Human Relations regarding the
       defendant's alleged discriminatory conduct on: May 31, 2013, and December 11, 20(1.E>ate).

E.     Since filing my charge of discrimination with the Pennsylvania Human Relations
       Commission or the Philadelphia Commission on Human Relations regarding the
       defendant's alleged discriminatory conduct (check one):

       X      One year or more has passed.
              Less than one year has passed.




                                                 -4-
           Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 7 of 15




IV.    Relief

WHEREFORE, Plaintiff prays that the Court grant such relief as may be appropriate, including
injunctive orders, damages, and costs as well as (check only those that apply):

                Direct the defendant to hire the plaintiff.
                Direct the defendant to re-employ the plaintiff.
       X        Direct the defendant to promote the plaintiff.
                Direct the defendant to reasonably accommodate the plaintiffs disabilities.
       X        Direct the defendant to reasonably accommodate the plaintiffs religion.
                Direct the defendant to (specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       X        If available, grant the plaintiff appropriate injunctive relief, lost wages,
                liquidated/double damages, front pay, compensatory damages, punitive damages,
                prejudgment interest, post-judgment interest, and costs, including reasonable
                attorney fees and expert witness fees.
                Other (specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



I declare under penalty of perjury that the foregoing is true and correct.

Signed this'J.bday   of~ 20~                     . .     ~~---··· ·
                                Signature of Plamttff    --~=-'"""'--"-~----
                                                                           _ _ _ _ _ _ _ _ _ _ _ __
                                Address                  41    Beil ircle
                                                          Northampton, PA 18067



                                Telephone number     484-547-4770
                                                    -----------------
                                Fax number (ifyou have one)




                                                  -5-
          Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 8 of 15


I&\            U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                             Philadelphia District Office

~                                                                                    801 Market Street, Suite 1300
                                                                                     Philadelphia, PA 19107·3127
                                                                        Intake lnfonnation Group: (800) 669-4000
                                                                   Intake lnfonnation Group TTY: (800) 669-6820
                                                                          Philadelphia Status Line: (866) 408·8075
                                                                          Philadelphia Direct Dial: (2 IS) 440-2602
                                                                                               TTY (21 S) 440·26 I 0
                                                                          FAX (21 S) 440-2606, 2632, 2848 & 2604
                                                                                           Website: www.eeoc.go1;
EEOC Charge Numbers: 530-2013-01290, 530-2015-00574

Eva Marie Poliquin
P. 0. Box 754
Cherryville, PA 18035

               Charging Party

LEHIGH VALLEY HOSPITAL AND HEALTH NETWORK
234 North 17th Street
Allentown, PA 18 l 04

               Respondent

                                       DETERMINATION

Under the authority vested in me by the Procedural Regulations of the U.S. Equal Employment
Opportunity Commission ("EEOC" or "Commission"), I issue the following Determination as to
the merits of the subject charge filed under Title VII of the Civil Rights Act of 1964, as amended
C·Title VII").

Charging Party began working for Respondent in 1997, and most recently held the position of
Radiologic Technician. In the Fall of2012, Respondent revised its flu vaccination policy to
mandate that all employees in positions deemed to involve patient contact must receive a flu shot
as a condition of their employment, unless they seek and receive from Respondent an exemption
from the vaccination requirement for reasons of medical contraindication or religious objection.

Charging Party alleges that she holds a sincere religious belief against receiving the influenza
vaccination and against the use of medications generally, and she further alleges a religious
practice and observance of abstaining from vaccination and medication in favor of healing by
religious faith. Charging Party further alleges that she sought a religious exemption from
Respondent's mandatory influenza vaccination, a request that Respondent denied, and that as
result of that denial and her refusal to receive the vaccine Respondent removed her from her
previous position as a Radiologic Technician, a position that Respondent classified as a patient
contact job, and instead placed her in a materially different and inferior position. Additionally,
Charging Party alleges that in August 2013, Respondent denied her employment as an EPIC
Software Educator, another position Respondent deemed to involve patient contact, because
Respondent again refused to accommodate her religion by granting an exemption to its
mandatory influenza vaccination policy. Charging Party also alleges retaliation for engaging in
protected activities.




                                                                                                EXHIBIT 1
           Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 9 of 15




Respondent asserts that Charging Party did not have a "bona fide" religious belief consistent
with Title VII and that her beliefs were secular. Therefore, her request not be vaccinated was
denied and she was demoted from Radiologic Technician to a position that limited her patient
contact. Respondent further asserts that Charging Party was denied the EPIC Software Educator
position that she sought because of her failure to comply with its mandatory flu vaccination
policy. Respondent denies that any retaliation took place.

The Commission's analysis of the evidence in this matter demonstrates the following:

First, Charging Party has a sincerely held religious belief against receiving vaccinations,
including the influenza vaccination, and against taking medications generally. Charging Party
also maintains a related religious practice or observance of abstaining from vaccination or
medications in favor of healing by faith.

Second, Charging Party's sincerely held religious belief, practice and observance conflicts with
Respondent's mandatory influenza vaccination policy. A requirement that Charging Party
receive the flu vaccine is clearly inconsistent with her sincerely held religious beliefs as well as
her practice and observance of abstaining from such vaccination for religious reasons.

Third, Charging Party sought from Respondent a reasonable accommodation regarding its
influenza vaccination requirement in the form of an exemption from that requirement.

Furthermore, Charging Party was subjected to multiple adverse actions because of her religion.
Respondent refused to grant a reasonable accommodation to Charging Party, instead denying her
exemption request, mandating that she receive the flu vaccine, removing her from her position as
a Radiologic Technician because did not comply with Respondent's demand that she be
vaccinated, and then denying her a position as an EPIC Software Educator for the same reasons.

Finally, the evidence demonstrates that Respondent unlawfully denied religious exemptions
sought by a class of employees with sincerely held religious beliefs, practices and observances
that conflict with Respondent's mandatory influenza vaccination requirement and subjected them
to adverse actions such as demotion and discharge because of Respondent's failure to reasonably
accommodate their religion. Respondent's decision-making concerning those denials of
religious exemption has been characterized by a failure to apply various controlling principles of
law in this area, including but not limited to failure or refusal to adhere to the correct legal
standard for identifying "'religion" or whether it is sincerely held as defined by Title VII and
controlling case law; failure or refusal to recognize where a conflict exists with a religious belief,
practice or observance; and failure or refusal to properly engage in the bilateral, cooperative
process required by Title VII.

Based on the evidence in this matter and legal positions concerning reasonable accommodation
of religion taken by Respondent during the investigation, the Commission further infers that
Respondent's practice of unlawfully denying its employees reasonable accommodation for
religion in the form of exemption from its mandatory flu vaccination requirement and its practice
of subjecting those employees to adverse action resulting from such accommodation denial has
persisted since 2012 and is presently on-going.



                                                  2
                                                                                         EXHIBIT 1
          Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 10 of 15




The Commission notes that Respondent does not assert that exemptions from its mandatory flu
vaccination policy constitute an undue hardship. Respondent's own policy provides for
exemptions from the flu vaccination requirement for workers deemed to hold patient contact
positions, and its policy further provides for alternative patient protection measures such as the
wearing of a surgical mask. Indeed, in response to an EEOC investigative subpoena Respondent
has produced evidence that it has, at least in some instances, granted religious exemptions from
the flu vaccination requirement to workers in patient contact positions. It also appears that
Respondent may have granted some exemptions for medical contraindication. There has been no
evidence presented that granting religious exemptions would pose an undue hardship.

Based on the foregoing analysis, I find that there is reasonable cause to believe that Respondent
subjected Charging Party to multiple denials of reasonable accommodation for her religious
belief, practice and observance in violation of Title VII. I further find that there is reasonable
cause to believe that Respondent subjected Charging Party to removal from her position as
Radiologic Technician and denial of a position as EPIC Software Educator as a consequence of
its unlawful failure to reasonably accommodate her religion and because of her religion in
violation of Title VII.

Additionally, arising out of the investigation of this matter, I find that there is reasonable cause to
believe that since at least Fall of2012 and continuing to the present, Respondent has subjected a
class of presently identified and unidentified employees deemed to be in patient contact positions
to denial of reasonable accommodation for their religious beliefs, practices and observances in
violation of Title VII. I further find that there is reasonable cause to believe that since at least
Fall of 2012 and continuing to the present, Respondent has subjected a class of employees
deemed to be in patient contact positions to adverse actions including removal from their
positions (e.g., demotion) and discharge as a consequence of its unlawful failure to reasonably
accommodate their religions and, therefore, because of their religions in violation of Title VII.
The aforementioned practices are on-going.

The Commission makes no findings concerning any other allegations set forth in the subject
charge of discrimination.

Upon finding reasonable cause that unlawful employment practices have occurred, the
Commission attempts to eliminate the alleged unlawful practices by informal methods of
conciliation. Conciliation is Respondent's opportunity to voluntarily remedy the unlawful
employment practices found to have occurred. Ultimately, any conciliation agreement must be
acceptable to the Commission. Forthcoming is a proposed conciliation agreement designed to
remedy the unlawful employment practices found to have occurred in this Letter of
Determination. Respondent is invited to respond to this proposal within 15 days of receipt. If
Respondent fails to engage in conciliation, or if the Commission determines, in its
sole discretion, that conciliation has failed, the Director will inform the parties and advise them
of the court enforcement alternatives available to aggrieved persons and the Commission.

During the aforementioned conciliation process, the Commission will discuss with Respondent
the identities of aggrieved persons for whom it seeks victim-specific relief as well as a procedure
for Respondent to disclose further information to the Commission to assist in the identification of



                                                  3
                                                                                         EXHIBIT 1
          Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 11 of 15



additional, presently unidentified persons aggrieved by Respondent's employment practices
identified above.

The confidentiality provisions of the statute and Commission Regulations apply to infonnation
obtained during conciliation. The Commission representative \Vill contact each party in the near
future to begin conciliation.




~~
cc: Glenn Guanowsky, Attorney for Respondent
cc: Seth Krause, Attorney for Charging Party
cc: Jennifer N. Cappozzola, Attorney for Respondent




                                                4

                                                                                     EXHIBIT 1
                         Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 12 of 15

 EEOCForm 1S1·A(11'16l                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                          NOTICE OF RIGHT TO Sue
                                                            (CONCILIATION FAILURE)
To:    Eva Marie Poliquin                                                        From:     Philadelphia District Office
       P. o. Box754                                                                        801 Market Street
       Cherryville, PA 18035                                                               Suite 1300
                                                                                           Philadelphia, PA 19107




       D          On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1801.7(a))

 EEOC Charge No.                       EEOC Representative                                                                Telephone No.

                                       legal Unit,
 53()..2013-01290                      Legal Technician                                                                   (215) 440-2828

TO THE PERSON AGGRIEVED:

This notice concludes the EEOC's processing of the above-numbered charge. The EEOC found reasonable cause to belleve
that violations of the statute(s) occurred with respect to some or all of the matters alleged in the charge but could not obtain a
settlement with the Respondent that would provide relief for you. In addition, the EEOC has decided that it will not bring suit
against the Respondent at this time based on this charge and will close its file in this case. This does not mean that the EEOC
is certifying that the Respondent is in compliance with the law, or that the EEOC will not sue the Respondent later or intervene
later in your lawsuit if you decide to sue on your own behalf.

                                                        - NOTICE OF SUIT RIGHTS •
                                                    (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 years)
before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.




                                                                                                                     8/27/2018
 Enc:losures(s)                                                                                                                 (Date Mailed)


 cc:    Glenn Guanowsky                                                         Seth Kraus
        Vice President, Legal Services                                          GIBBS & ASSOCIATES LAW FIRM, LLC
        LEHIGH VALLEY HOSPITAL ANO HEALTH NETWORK                               5412 Courseview Drive, Suite 122
        234 North 17th Street                                                   Mason, OH 45040
        Allentown, PA 18104




                                                                                                                             EXHIBIT 2
                  Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 13 of 15
Enclosure w!lh EEOC
Ferm 1Si-A(11l16)
                                       INFORMATION RELATED TO FILING SUIT
                                     UNDER THE LAWS ENFORCED BY THE EEOC

                      (This information relates to filing suit in Federal or State court under Federal law.
             If you also plan to sue cfaiming violations of State law, please be aware that time limits and other
                    provisions of State law may be shorter or more limited than those described below.)


PRIVATE Surr RIGHTS
                                  Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                  the Genetic Information Nondiscrimination Act (GINA), or the Age
                                  Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period ls over, your right to sue based on the charge referred to in this Notice will be lost If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act In a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was malled to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you fi!e in Federal or State court is a matter for you to decide
after talking to your attorney. Fmng this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters !Ike or related to the matters
alleged ln the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its maln office. if you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE Surr RIGHTS              Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for vlo!atlons that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 1211/08, you should file suit
before 7/1110- not 1211/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the AOEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION             --   Title vu, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
!n your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                    --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. !f you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptiy in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at !east 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
                                                                                                       EXHIBIT 2
                           Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 14 of 15

 EEOC foon HllA (l1!'16J                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                          NOTICE OF RIGHT TO    SUE
                                                            (CONG/LIA TION FAILURE)
To:     Eva Marie Poliquin                                                       From:     Philadelphia District Office
        P. 0. Box754                                                                       801 Market Street
        Cherryville, PA 18035                                                              Suite 1300
                                                                                           Philadelphia, PA 19107




       D          On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                       EEOC Representative                                                                Telephone No.
                                       Legal Unit,
 530·2015-0057 4                       Legal Technician                                                                   (215) 440-2828

TO THE PERSON AGGRIEVED:

This notice concludes the EEOC's processing of the above-numbered charge. The EEOC found reasonable cause to believe
that violations of the statute(s) occurred with respect to some or all of the matters alleged in the charge but could not obtain a
settlement with the Respondent that would provide relief for you. In addition, the EEOC has decided that it will not bring suit
against the Respondent at this time based on this charge and will close its file in this case. This does not mean that the EEOC
is certifying that the Respondent is in compliance with the law, or that the EEOC will not sue the Respondent later or intervene
later in your lawsuit if you decide to sue on your own behalf.

                                                        .. NOTICE OF SUIT RIGHTS ..
                                                    (See the additional information attached to this form.)

Title VU, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s} under federal law based on this charge in federal or state court Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.


                                                             rpr_•C~on
 Enclosures(s)
                                                                            ~~
                                                           Jamie R. Williamson,
                                                                                           -                         8/27/2018
                                                                                                                                (Date Mailed)
                                                             District Director
 cc:     Glenn Guanowsky                                                        Seth Kraus, Esq.
         Vice President Legal Services                                          GIBBS & ASSOCIATES LAW FIRM, LLC
         LEHIGH VALLEY HOSPITAL & HEALTH SERVICES                               5700 Gateway Blvd., Suite 400
         234 North 17th Street                                                  Mason, OH 45040
         Allentown, PA 18104




                                                                                                                             EXHIBIT 3
                     Case 5:18-cv-05088-CFK Document 1 Filed 11/26/18 Page 15 of 15
Enclosure with EEOC
Farm 161-A (11116)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC

                        (This information relates to filing suit in Federal or State court under Federal law.
              If you also plan to sue claiming violations of State law, please be aware that time limits and other
                     provisions of State law may be shorter or more limited than those described below.)

PRIVATE SUIT RIGHTS
                                    Title VII of the Civil Rights Act. the Americans with DisabiJities Act (ADA),
                                    the Genetic Information Nondiscrimination Act (GINA). or the Age
                                    Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and lts envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was malled to you (as
indicated where the Notice is signed) or the date of the postmark. if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.} Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or. to the extent permitted by court decisions. matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                 Equal Pay Act (EPA):
EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
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                                                                                                           EXHIBIT 3
